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                             United States District Court
                             Eastern District of Michigan
                                  Southern Division

 The PUBLIC INTEREST LEGAL
 FOUNDATION

                                        Plaintiff,
    v.

JANICE M. WINFREY, in her official
capacity as Detroit City Clerk, and                  No. 2:19-13638
GEORGE AZZOUZ, in his official                       Hon. David M. Lawson
capacity as Director of Elections for the            Mag. Judge Michael J. Hluchaniuk
City of Detroit,

                                     Defendants.



            PLAINTIFF’S MOTION FOR VOLUNTARY DISMISSAL
                  PURSUANT TO FED. R. CIV. P. 41(A)(2).

         Plaintiff Public Interest Legal Foundation respectfully requests that this

action be dismissed pursuant to Fed. R. Civ. P. 41(a)(2).

         Counsel for the Plaintiff sought concurrence for this Motion. Counsel for

Defendants stated that Defendants concur. Counsel for Intervenor-Defendants

stated that they consent to the voluntary dismissal but that they reserve their rights

with respect to whether the dismissal should be with or without prejudice.

         For the reasons contained herein, Plaintiff’s motion should be granted.




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Respectfully submitted,

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Attorneys for Plaintiff


Dated: June 29, 2020




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                        United States District Court
                        Eastern District of Michigan
                             Southern Division

The PUBLIC INTEREST LEGAL
FOUNDATION

                                  Plaintiff,
   v.

JANICE M. WINFREY, in her official
capacity as Detroit City Clerk, and            No. 2:19-13638
GEORGE AZZOUZ, in his official                 Hon. David M. Lawson
capacity as Director of Elections for the      Mag. Judge Michael J. Hluchaniuk
City of Detroit,

                               Defendants.



  PLAINTIFF’S BRIEF IN SUPPORT OF MOTION FOR VOLUNTARY
        DISMISSAL PURSUANT TO FED. R. CIV. P. 41(A)(2).
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                   STATEMENT OF ISSUE PRESENTED

  1) Whether Plaintiff’s request to voluntarily dismiss this action pursuant to Fed.

     R. Civ. P. 41(a)(2) should be granted.


  Plaintiff’s Response: Yes.




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       CONTROLLING OR MOST APPROPRIATE AUTHORITIES



Fed. R. Civ. P. 41(a)(2).




                                  iii
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      Plaintiff has filed this motion for voluntary dismissal. The basis of Plaintiff’s

motion is that Defendants’ overdue discovery responses now enable the Plaintiff to

ascertain that remedial actions were taken after the filing of this lawsuit.

Defendants have taken action on the list of likely deceased registrants provided by

the Plaintiff. Further, almost all of the duplicate registrations that Plaintiff brought

to Defendants’ attention have been corrected.

      Plaintiff’s request is pursuant to Fed. R. Civ. P. 41(a)(2) because the

Defendants have filed an answer. There are no counterclaims or crossclaims

pending. Defendant could not conceivably suffer any prejudice if this action is

dismissed. See Rogers v. Mich. AG, No. 16-12509, 2016 U.S. Dist. LEXIS 176766,

at *4 (E.D. Mich. Dec. 1, 2016) (“Moreover, it is generally held that a district court

will grant a motion for voluntary dismissal unless a defendant can show that it will

suffer some ‘plain legal prejudice as a result.’ Waller v. Fin. Corp. of Am., 828

F.2d 579, 583 (9th Cir. 1987).”) Indeed, dismissal is precisely the action the

Defendants have sought. Similarly, Plaintiff has obtained what it has sought–a fix

for the list maintenance problems of deceased and duplicate registrants. No party

would be prejudiced by granting this motion.

      Defendants’ overdue discovery responses now enable the Plaintiff to

ascertain that remedial actions were commenced after the filing of this lawsuit. On

February 10, 2020, Plaintiff served requests for production of documents asking

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for, among other documents, the current voter roll. (PageID.638.) The purpose of

this request was to catalog any remedial actions taken after the filing of this suit

and also address various defenses raised by the parties. The voter roll is the

document that conclusively reveals the current state of the rolls and any actions

taken by Defendants. Without it, Plaintiff could not assess the merits of those

arguments or the current state of the rolls. Responses to Plaintiff’s February 10,

2020 requests were due by April 28, 2020 per this Court’s Order on March 31,

2020. (PageID.703.)

     Defendants did not provide the voter roll that would allow Plaintiff to discern

conclusive remedial actions taken in regard to the data provided to Defendants

about defects in list maintenance procedures regarding dead and duplicate

registrants until June 25, 2020.

     From June 25, 2020 to the filing of this motion, Plaintiff has been examining

this data. The responsive document provided June 25, 2020 demonstrates to the

satisfaction of the Plaintiff that the Defendants undertook an effort after the

commencement of this matter to cure defects found by the Plaintiff. 1



1
  For example, Plaintiff learned that Milton J----- Jr., was registered to vote before
the filing of this lawsuit. Plaintiff determined that this registrant in fact died on
March 22, 1998. After the commencement of this action, Defendants removed this
registrant as deceased on January 21, 2020. The voter rolls reveal extensive
evidence of remedial action related to the data provided by the Plaintiff to the
Defendants.
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     In light of the actions taken, Plaintiff respectfully requests that this Court,

pursuant to Fed. R. Civ. P. 41(a)(2), dismiss its Complaint without prejudice as to

all claims made and all parties named therein.



Dated: June 29, 2020.

                                                /s/ Kaylan L. Phillips_____
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                         CERTIFICATE OF SERVICE


      I hereby certify that on June 29, 2020, I filed the foregoing electronically

with the U.S. District Court for the Eastern District of Michigan in this matter,

which will forward this document to all counsel of record through its

e-filing system.


                                  /s/ Kaylan Phillips
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